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                             UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF CALIFORNIA
                                  SAN FRANCISCO DIVISION
IN RE: CATHODE RAY TUBE (CRT)                   )     Case No.: 3:07-cv-5944 SC
ANTITRUST LITIGATION                            )     MDL NO. 1917
                                                )
                                                )
                                                )
This document relates to:                       )     STIPULATION AND [PROPOSED]
                                                )     ORDER DISMISSING DEFENDANT
Costco Wholesale Corp. v. Hitachi, Ltd., et al. )     BEIJING MATSUSHITA COLOR
 Case No. 3:11-cv-06397-SC                      )     CRT CO., LTD.
                                                )
                                                )
                                                )     Judge: The Honorable Samuel Conti
                                                )


       IT IS HEREBY STIPULATED AND AGREED by and between counsel for the
undersigned Plaintiff and Defendant Beijing Matsushita Color CRT Co., Ltd. (“BMCC”) as
follows:
       1.        The First Amended Complaint filed by Plaintiff Costco Wholesale Corporation
(“Costco”) in the above-captioned action and all claims asserted therein by Costco against
BMCC are dismissed, without prejudice, pursuant to Rule 41(a) of the Federal Rules of Civil
Procedure; and
       2.        BMCC’s Motion to Dismiss [MDL Dkt. 2118] is withdrawn as to Costco; and
       3.        The parties will bear their own attorneys’ fees and costs.




STIPULATION AND [PROPOSED] ORDER DISMISSING DEFENDANT BMCC
(Case No. 3:11-CV-06397)                                                                       1
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       4.      The undersigned parties respectfully request that the Court enter this Stipulation
as an Order.
       IT IS SO STIPULATED.
Dated: November 13, 2013
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Dated: November 13, 2013                     PERKINS COIE LLP
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STIPULATION AND [PROPOSED] ORDER DISMISSING DEFENDANT BMCC
(Case No. 3:11-CV-06397)                                                                            2
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         Pursuant to Local Rule 5-1(i), the filer attests that the concurrence in the filing of this
document has been obtained from each of the above signatories.




PURSUANT TO THE STIPULATION, IT IS SO ORDERED.


Dated:
                                                        Honorable Samuel Conti
                                                        United States District Court Judge




STIPULATION AND [PROPOSED] ORDER DISMISSING DEFENDANT BMCC
(Case No. 3:11-CV-06397)                                                                               3
